             Case 3:19-cv-00315-CSH Document 55 Filed 11/24/20 Page 1 of 1




                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT


                       ELECTRONIC FILING ORDER IN CIVIL CASES

        The parties shall file all documents in this case electronically. Counsel must

 comply with the following requirements:

        1. Counsel must comply with all applicable Federal Rules of Civil Procedure, the

 District's Local Rules, the requirements set forth in the District's CM/ECF Policies and

 Procedures Manual, and any other rules and administrative procedures which

 implement the District's CM/ECF system.

        2. Documents filed electronically must be filed in OCR text searchable PDF

 format.

        3. Unless otherwise ordered, on the business day next following the day on

 which a document is filed electronically, counsel must provide chambers with one paper

 copy of the following e-filed documents:

        All documents (including briefs and exhibits) relating to the following:

        a.       Applications for temporary restraining orders, preliminary injunctions or
                 prejudgment remedies;
        b.       Dispositive motions (motions to dismiss, for judgment on the pleadings, or
                 for summary judgment);
        c.       Requested jury instructions;
        d.       Joint Trial Memorandum;
        e.       Trial briefs, including proposed findings of fact and conclusions of law;
                 and
        f.       Any other motion, request or application which, taken together with all
                 related filings (e.g., memorandum in support and affidavits), are in excess
                 of 15 pages.

It is so ordered.

                                                   /s/ Charles S. Haight, Jr.
                                                   Senior United States District Judge


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